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 1                                                                           :i : . -.    _. ~~ '~~'~iCT COURT

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 8                                   UNITED STATES DISTRICT COURT
 ►':                                CENTRAL DISTRICT OF CALIFORNIA
10                                         SOUTHERN DIVISION
11      UNITED STATES OF AMERICA,                       ) Case No. SA CR 18-00192-JLS
12                            Plaintiff,                   ORDER OF DETENTION AFTER
                                                           HEARING [Fed. R. Crim. P. 32.1(a)(6);18
13                                                         U.S.C. . § 3143(a)]
                              ►+~
14 ~
        BRIAN EDWARD AUSTIN,
15
16                            Defendant.

17
18             The defendant having been arrested in this District pursuant to a warrant issued by
fL`l the United States District Court for the Central District of California for alleged violarions
20      of the terms and condirions of his supervised release; and
21             The Court having conducted a detention hearing pursuant to Federal Rule of
22      Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23             The Court finds that:
24         A. (X) The defendant has not met his burden of establishing by clear and convincing
25             evidence that he is not likely to flee if released under 18 U.S.C. § 3142(b) or (c). This
26             finding is based on:
~~~          Instant allegations and violation history indicate lack ofamenability to supervision; no bail
28 II          resources
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 1              and
 2        B. (X) The defendant has not met his burden of establishing by clear and convincing
 3              evidence that he is not likely to pose a danger to the safety of any other person or the
 4              community if released under 18 U.S.C. § 3142(b) or (c). This finding is based on:
 5          Instant allegations and violation history indicate lack ofamenability to supervision.

 6           IT THEREFORE IS ORDERED that the defendant be detained pending further
 7     revocarion proceedings.
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 9     Dated:          ~'Z~"~Z~
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                                                            DOUGLAS F.       CORMICK
12                                                          United States agistrate Judge
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